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                EXHIBIT A
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 1 LTL ATTORNEYS LLP
   Enoch H. Liang (SBN 212324)
 2 601 Gateway Boulevard, Suite 1010

 3 South San Francisco, California 94080
   Tel: 650-422-2130
 4 Fax: 213-612-3773
   enoch.liang@ltlattorneys.com
 5
   James M. Lee (SBN 192301)
 6 Caleb H. Liang (Bar No. 261920)

 7 300 S. Grand Ave., 14th Floor
   Los Angeles, California 90071
 8 Tel: 213-612-8900
   Fax: 213-612-3773
 9 james.lee@ltlattorneys.com
   caleb.liang@ltlattorneys.com
10

11 HUNG G. TA, ESQ. PLLC
   Hung G. Ta
12 JooYun Kim
   250 Park Avenue, 7th Floor
13 New York, New York 10177
   Tel: 646-453-7288
14
   hta@hgtlaw.com
15 jooyun@hgtlaw.com

16
                               UNITED STATES DISTRICT COURT
17
                         NORTHERN DISTRICT OF CALIFORNIA
18
                                                 Master File No. 17-cv-06779-RS
19 IN RE TEZOS SECURITIES LITIGATION
                                                 CLASS ACTION
20

21 This document relates to:                     DECLARATION OF ARMAN ANVARI IN
                                                 SUPPORT OF MOTION TO WITHDRAW
22         ALL ACTIONS.                          AS LEAD PLAINTIFF
23                                                        March 7
                                                 Date: ____________, 2019
                                                 Time: 1:30 p.m.
24
                                                 Crtrm: 3
25
                                                 Judge: Hon. Richard Seeborg
26

27

28


                                  DECLARATION OF ARMAN ANVARI
                                       NO. 3:17-CV-06779-RS
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 1          I, Arman Anvari, declare as follows pursuant to 28 U.S.C. § 1746:
 2          1.      On March 6, 2018, the Court appointed me as the Lead Plaintiff in this action, and my
 3 attorneys as the Co-Lead Counsel. Dkt. No. 101.

 4          2.      Since my appointment as Lead Plaintiff, I have actively participated in the litigation
 5 of this lawsuit, including:

 6                     reviewing, commenting on and revising drafts of the Consolidated Class Action
                        Complaint filed on April 3, 2018 (Dkt. No. 108);
 7

 8                     reviewing the motions to dismiss filed by the Defendants (Dkt. Nos. 117, 119, 123,
                        126), and commenting on and revising drafts of the opposition briefs filed by my
 9                      attorneys in response to each of those motions to dismiss (Dkt. Nos. 132-135);

10                     engaging in substantial discovery efforts, including searching for and producing
                        documents to Defendants in response to their document requests, and providing
11
                        other discovery such as written responses to interrogatories and requests for
12                      admissions served by Defendants;

13                     numerous and regular meetings/communications in person and via telephone and
                        email with my attorneys;
14

15                     involving myself in the one-day mediation between the parties that was conducted
                        on December 14, 2018 by reviewing and commenting on the written mediation
16                      submissions and providing instructions to my attorneys during the mediation;

17                     approving the addition of named plaintiffs Pumaro LLC (“Pumaro”) and Artiom
                        Frunze to this lawsuit (Dkt. Nos. 183 and 186);
18

19                     causing the filing of the Motion for Class Certification on January 9, 2019 (Dkt.
                        No. 187), which seeks the appointment of Mr. Frunze and Pumaro as Class
20                      Representatives; and
21
                       providing input into the strategy and direction of this case generally.
22
            3.      Based on various legal arguments which Defendants intend to make, however, I
23
     believe I will not be able to adequately represent the putative Class, and have instructed my attorneys
24
     to seek my withdrawal as Lead Plaintiff. I believe that Pumaro and Mr. Frunze, if appointed as Class
25
     Representatives, will capably represent the interests of the Class.
26
            4.      Until my withdrawal, I will continue to comply with my responsibilities as Lead
27
     Plaintiff, including agreeing to make myself available for a deposition, as Defendants have requested.
28

                                                        1
                                      DECLARATION OF ARMAN ANVARI
                                           NO. 3:17-CV-06779-RS
       Case 3:17-cv-06779-RS Document 196-2 Filed 01/25/19 Page 4 of 4


 1       I declare under penalty of perjury that the foregoing is true and correct to the best of my
 2 knowledge.
 3       Executed this lt~day of January, 2019 in Chicago, Illinois.
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 6                                                    Arman Anvari
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                                 DECLARATION OF ARMAN ANV ARI
                                      NO. 3:17-CV-06779-RS
